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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

| FELIPE F. VIVAR,

 

 

Plaintiff,

C40)

s.

—against— Case No. 18-c -05987-
SSN ~

CITY OF NEW YORK, et al.,

Defendants

 

 

 

PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO THE NEW YOR

PRESBYTERIAN HOSPITAL AND NEW YORK GRACIE SQUARE HOSPT)
DEFENDANTS’ MOTION TO DISMISS

Mr. Vivar requests that the Court deny the Defendants’ motions to dismiss becaus
even if the Court dismisses the federal law claims against these specific defendants, the ¢
has supplemental jurisdiction over Plaintiff's state law claims against these defendants; a
Plaintiff has adequately alleged several state law claims in his amended complaint.

In construing Plaintiff's response, Plaintiff asks that the Court read any new addj
facts asserted in this opposition brief as supplementing his amended complaint as the Co|
do with pro se litigants. Nielsen v. Rabin, 746 F.3d 58, 63 (2d Cir. 2014) (overturning the
court’s grant of dismissal where the complaint and opposition papers to 'a motion to dism
when combined stated a claim upon which relief could be granted).

In the alternative, Mr. Vivar requests that the Court grant him leave to amend his

complaint to address any deficiencies identified by the Court. Nielsen v. Rabin, 746 F.3d

(2d Cir. 2014). ("Generally, leave to amend should be freely given, and a pro se litigant in

particular should be afforded every reasonable opportunity to demonstrate that he has a v

claim. A pro se complaint should not be dismissed without the Court granting leave to an

             
 
 
  

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least once when a liberal reading of the complaint gives any indication that a valid claim might

be stated.") (internal quotation marks and citation omitted).
FACTS

The relevant facts are stated in the amended complaint, and Plaintiff refrains from

unnecessarily re-stating those facts here.

PROCEDURAL HISTORY

On November 7, 2019, Plaintiff filed an amended complaint against approximately four

corporate entities and some of their employees. The corporate entities were: Selfhelp Community

Services (“Selfhelp”), the City of New York (“the City”), New York and Presbyterian Hospital

(“NYPH”) s/h/a “New York Presbyterian Hospital”, and New York Gracie Square Hospital

(“GSH”) s/h/a “New York Presbyterian Hospital: Gracie Square Hospital”. Some of the
employees were named by Plaintiff and others were identified as John/Jane Does.

On November 28, 2019, the Court ordered service for the named defendants, orde

red that

the City of New York identify its John Doe employees, and stated that Plaintiff could amend the

complaint to name other John Doe paramedics and hospital employees if he learned their

identities through discovery. Order of Service, Vivar v. City of New York, et al, 18-cv-05987-

VSB (November 18, 2018).

The City and its employees have not yet responded to the complaint, but the Court has

indicated it is unlikely to grant further extensions beyond May 13, 2019. Order on Motion for

Extension of Time to Answer, Vivar v. City of New York, et al, 18-cv-05987-VSB (April 9,

2019).

On February 15, 2019, NYPH moved to dismiss the complaint. NYPH did not move to

dismiss the amended complaint on behalf of any of its John/Jane Doe employees, and Plaintiff

 
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did not identify any of its employees by name in the Complaint.
On February 25, 2019 GSH and its named employee, Rebecca Kostopoulos s/h/a “Dr.
Rebecca Katsopoulous” moved to dismiss the amended complaint. GSH did not move to dismiss
the amended complaint on behalf of any of its John/Jane Doe employees.
Selfhelp and its named employees initially filed an answer in response to the con] plaint,
but after the NYPH and GSH Defendants filed their motions to dismiss, they filed an untimely
motion to dismiss. Plaintiff does not respond to Selfhelp’s untimely motion in this brief. He

plans to respond separately.
ARGUMENT

I. THE COURT SHOULD EXERCISE SUPPLEMENTAL JURISDICTION OVER
PLAINTIFF’S STATE LAW CLAIMS BECAUSE THEY FORM PART OF THE SAME
CASE OR CONTROVERSY AS FEDERAL CLAIMS BEFORE THE COURT

Pursuant to 28 U.S.C. § 1367 (a), “in any civil action of which the district courts have

original jurisdiction, the district courts shall have supplemental jurisdiction over all other claims

that are so related to claims in the action within such original jurisdiction that they form part of

 

the same case or controversy under Article III of the United States Constitution.” “The state and
federal claims must derive from a common nucleus of operative fact. But if, considered without
regard to their federal or state character, a plaintiff's claims are such that he would ordinarily be
expected to try them all in one judicial proceeding, then, assuming substantiality of the federal
issues, there is power in federal courts to hear the whole.” United Mine Workers of Am. v. Gibbs,
383 U.S. 715, 725 (1966); Chalusian v. Simsmetal E. LLC, 698 F.Supp.2d 397, 401 (S.D.N.Y.
2010) (where the state claims would involve similar witnesses, evidence and testimony, court

found state claims arose from same underlying factual basis as federal claims).

 
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Here, at this stage, the allegations against NYPH, GSH, and Kostopoulos, form the same

case or controversy as Plaintiff's federal law claims against the City and its employees, which

the Court plainly has original subject matter jurisdiction over. Mejia v. Davis, No. 1:16-CV-

9706-GHW, 2018 WL 333829, at *7 (S.D.N.Y. Jan. 8, 2018) (finding supplemental juris diction

over claims against participants in the chain of events leading to a forced hospitalization);

3

Mortimer v. City of New York, No. 15 CIV. 7186 (KPF), 2018 WL 1605982, at *11(S.DN.Y.

Mar. 29, 2018) (finding supplemental jurisdiction over a private doctor who treated a ch
forcibly removed from his mother). Defendants do not contest that the Court has origina

matter jurisdiction over the federal law claims against the City and its employees.

Id

| subject

At its core, the amended complaint alleges that City and Selfhelp employees retaliated

against Plaintiff on two separate instances by calling the police to have Plaintiff unlawfu

lly

forcibly hospitalized on two separate dates. In both instances, the City and Selfhelp employees

initiated an unbroken course of unlawful behavior that concluded in Plaintiff being forci
hospitalized, stripped, subjected to an anal cavity search, and forcibly medicated by NY
employees on the first occasion and GSH employees on the second. Neither the City, na

‘employees, have moved to dismiss those claims against it.

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Moreover, the same individuals who are witnesses to Plaintiff's lack of dangerousness or

other basis for forced medication or forced hospitalization in the claims against the City;

and its

employees are witnesses in the claims against NYPH, GSH, and their employees. Jd. Denying

supplemental jurisdiction here would require duplication of discovery, trial, and other

proceedings. Unlike Plaintiff, who has relevant case law supporting his position, Defendants do

not identify a single case where a court declined to exercise supplemental jurisdiction over those

who participated in the chain of acts that resulted in a plaintiff's forced hospitalization.

 
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Defendant NYPH appears to argue that because the police officers did not remain

NYPH with Plaintiff during the entirety of his forced hospitalization, there can be no

supplemental jurisdiction. NYPH Memorandum of Law p. 8-9. However, this argument
contrary to the cases identified above, ignores the overlap in witnesses, and ignores that {
NYPH employees almost certainly used and were told information by the police officers
after the police officers had left. Defendants do not cite, nor is there, any case law indica
a party to the federal claim with original jurisdiction must be physically present at the tin
specific act constituting the supplemental claim occurs. As explained above, physical pre
not the only way for facts to overlap. For these reasons, the Court should exercise suppl¢
jurisdiction over Plaintiff's state law claims.

II. PLAINTIFF HAS ADEQUATELY ALLEGED SEVERAL STATE LAW CLAI
AGAINST NYPH, GSH, AND KOSTOPOULOS

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“The federal rules effectively abolish the restrictive theory of the pleadings doctrine,

making it clear that it is unnecessary to set out a legal theory for the plaintiff's claim for relief.”

C. Wright, A. Miller, M. Kane, R. Marcus, and A. Steinman, 5 Federal Practice and Prod

1219 (3d ed., 2017 Update); citing Alvarez v. Hill, 518 F.3d 1152, 1157 (9th Cir. 2008)

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"Notice

pleading requires the plaintiff to set forth in his complaint claims for relief, not causes of action,

statutes or legal theories.") (emphasis in original).

While “[flederal pleading rules call for a short and plain statement of the claim showing

that the pleader is entitled to relief; they do not countenance dismissal of a complaint for

imperfect statement of the legal theory supporting the claim asserted.” Johnson v. City of Shelby,

Miss., 135 S. Ct. 346, 346 (2014) (internal quotation and citation omitted) (holding that 1

it was

improper for a district court to dismiss a complaint simply because the complaint referred to the

 
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Fourteenth Amendment instead of 42 U.S.C. § 1983). A plaintiff need only simply, concisely,

-and directly state facts that entitle them to damages from the defendant. Id.

While Plaintiff, a pro se litigant, did not specifically identify his legal theories entitling

him to relief, Johnson makes clear that he was not required to. None of the cases cited by

Defendants actually address a failure to identify specific legal theories by pro se litigant

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contrary, they all deal with failures to allege sufficient or clear facts in the complaint. Unlike

those cases, Plaintiff has clearly stated facts entitling him to relief. Despite Plaintiff's cl

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statement of facts, NYPH, GSH, and Kostopoulos, feign the inability to determine which state

law claims he has advanced. Because Plaintiff is pro se, Plaintiff asks that the Court libé
construe his complaint to raise the strongest legal theories that it suggests, and while the
may identify additional state law claims that Plaintiff has alleged, Plaintiff believes that

least alleged the claims outlined below against the moving defendants.

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Even if NYPH and GSH is not directly liable for torts against Plaintiff, Plaintiff has

adequately alleged that they are liable for the acts of its employees because New York tort law

recognizes respondeat superior. Cook, David et al., § 9:11.Vicarious liability of employer under

respondeat superior, 14 N.Y.Prac., New York Law of Torts § 9:11 (August 2017 Update

1. False Imprisonment Against NYPH and GSH

).

Plaintiff has adequately alleged false imprisonment because he has adequately allleged

that: 1) employees from NYPH and GSH intended to confine plaintiff; 2) Plaintiff was c

onscious

of the confinement; 3) Plaintiff did not consent to the confinement; 4) the confinement was not

otherwise privileged. See Torres v. Jones, 26 N.Y.3d 742 (2016). While he alleges that }
committed this tort on two occasions, he alleges that GSH committed this tort on one oc

2. Intentional Infliction of Emotional Distress Against NYPH and GS

NYPH

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Plaintiff has adequately alleged Intentional Infliction of Emotional Distress under New
York state law against NYPH and GSH. He has adequately alleged that when NYPH’s
employees forcibly hospitalized him, forced him to strip, subjected him to an anal cavity search,
forcibly medicated him, and/or denied him his inhaler on two occasions, its employees: 1)
engaged in extreme or outrageous conduct, 2) directed at Plaintiff, 3) with intent to cause (or
recklessly disregarded a probability of causing) several emotional distress, 4) that caused
Plaintiff severe emotional distress. Gilewicz v. Buffalo General Psychiatric Phyciatric (SIC)
Unit, 118 A.D.3d 1298 (N.Y. Sup. App. Div. 4th Dep't 2014).

Similarly, he has adequately alleged that when GSH’s employees forcibly hospitalized
him, restrained him to a bed, and/or forcibly medicated him multiple times, its employees: 1)
engaged in extreme or outrageous conduct, 2) directed at Plaintiff, 3) with intent to cause (or
recklessly disregarded a probability of causing) several emotional distress, 4) that caused
Plaintiff severe emotional distress. Id.

3. Negligent Infliction of Emotional Distress Against NYPH and GSH

Plaintiff has adequately alleged Negligent Infliction of Emotional Distress under New
York state law against NYPH and GSH. He has adequately alleged that when NYPH’s
employees forcibly hospitalized him, forced him to strip, subjected him to an anal cavity search,
forcibly medicated him, and/or denied him his inhaler on two occasions, its employees: | 1)
created an unreasonable risk of causing Plaintiff emotional distress, 2) Plaintiff's emotional
distress was foreseeable, 3) caused Plaintiff emotional distress, and 4) breached a direct duty of
care to Plaintiff which resulted in Plaintiff's being unreasonably placed in fear of physidal harm.

See Battalla v. State, 10 N.Y. 2d 237 (1961).

 
 

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Similarly, he has adequately alleged that when GSH’s employees forcibly hospit
him, restrained him to a bed, and/or forcibly medicated him multiple times, its employe
created an unreasonable risk of causing Plaintiff emotional distress, 2) Plaintiff's emoti¢

distress was foreseeable, 3) caused Plaintiff emotional distress, and 4) breached a direct

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care to Plaintiff which resulted in Plaintiff's being unreasonably placed in fear of physical harm.

Id.

4. Medical Mal-Practice Against NYPH, GSH, and Kostopoulos

Plaintiff has adequately alleged medical malpractice under New York state law against

NYPH, GSH, and Kostopoulos. He has adequately alleged that when NYPH’s employe
forcibly hospitalized him, forced him to strip, subjected him to an anal cavity search, fo
medicated him, and/or denied him his inhaler on two occasions, its employees: 1) breac
appropriate duty of care between physicians or nurses and Plaintiff as a patient and 2) c3
injury to Plaintiff. See Bucsko v. Gordon, 987 N.Y.S.2d 402 (2d Dep't 2014).

Similarly, Plaintiff has adequately alleged that when GSH’s employees forcibly

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hospitalized him, restrained him to a bed, forcibly medicated him multiple times, and/or allowed

him to fall, its employees: 1) breached the appropriate duty of care between physicians ¢
and Plaintiff as a patient and 2) caused injury to Plaintiff. Jd.

Lastly, he has adequately alleged that when Kotsopoulos forcibly medicated him
doctor 1) breached the appropriate duty of care between physicians or nurses and Plaint
patient and 2) caused injury to Plaintiff. Jd.

5. Battery Against NYPH, GSH, and Kostopoulos |

Plaintiff has adequately alleged battery under New York state law against NYPH

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H, GSH,

and Kostopoulos. He has adequately alleged that when the NYPH’s employees strapped him into |

 
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a bed and when they forcibly medicated him that: 1) they intended to make bodily contact and 2)

it was harmful or offensive in nature. Merzon v. County of Suffolk, 767 F.Supp. 432

(E.D.N.Y.1991).

Similarly, he has adequately alleged that when the GSH’s employees strapped him into a

bed and when they forcibly medicated him that: 1) they intended to make bodily contact
was harmful or offensive in nature. Jd.

Lastly, he has adequately alleged that when Kotsopoulos forcibly medicated him

and 2) it

that: 1)

the doctor intended to make bodily contact and 2) it was harmful or offensive in nature. | Id.

6. Assault Against GSH

Plaintiff has adequately alleged assault under New York state law because he has

adequately alleged that when GSH’s employees told him that if he didn’t take the medi¢ation —

they would physically force him to: 1) they made an unjustifiable threat of force against

Plaintiff,

2) with the intention to arouse apprehension, 3) creating Plaintiffs reasonable apprehension of

immediate physical harm, and 4) they had the present ability to effectuate the threat. Mérzon v.

County of Suffolk, 767 F.Supp. 432 (E.D.N.Y.1991).

* * *

For all of the reasons discussed above, the Court should exercise supplemental

jurisdiction over Plaintiff's state law claims against NYPH, GSH, and Kotsopoulos at this stage

and refuse to dismiss those state law claims.

If. AT THIS STAGE, THE COURT NEED NOT RULE ON WHETHER ANY OF

NYPH’S EMPLOYEES WERE STATE ACTORS

Here, NYPH has not moved to dismiss any claims on behalf of any of its specifi¢

employees identified in Plaintiff's amended complaint. Moreover, Plaintiff concedes that the

 
 

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amended complaint does not alleged facts sufficient for corporate liability under 42 U.S

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§1983 against NYPH. Therefore, the Court may dismiss the federal claims against NYPH,

without ruling on whether any of NYPH’s employees have been alleged to be state actors under

§1983.

IV. PLAINTIFF CONCEDES THAT THE AMENDED COMPLAINT DOES NOT

ADEQUATELY ALLEGE STATE ACTION BY KOSTOPOULOS OR GSH

As with NYPH, Plaintiff concedes that the amended complaint does not alleged facts

sufficient for corporate liability under 42 U.S.C. §1983 against GSH. He also concedes that the

amended complaint does not allege that Kostopoulos was a state actor under 42 U.S.C. §1983.

CONCLUSION
For the foregoing reasons, Plaintiff respectfully requests that this Court deny the

to dismiss as to the state law claims against NYPH, GSH, and Kostopoulos.

motions

In the alternative, Plaintiff requests that the Court grant him leave to amend his ¢omplaint

to address any deficiencies identified by the Court, and any other relief this Court deems just and

proper. —

Dated: New York, New York
April 18, 2019

FELIPE F. VIVAR

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